Case 5:22-cv-00951-JGB-KK Document 1 Filed 06/07/22 Page 1 of 19 Page ID #:1



 1   PAUL L. REIN, Esq. (SBN 43053)
     AARON M. CLEFTON, Esq. (SBN 318680)
 2   REIN & CLEFTON, Attorneys at Law
     200 Lakeside Drive, Suite A
 3   Oakland, CA 94612
     Telephone: 510/832-5001
 4   Facsimile: 510/832-4787
     info@reincleftonlaw.com
 5
     Attorneys for Plaintiff
 6   JAMES HOSMANEK
 7
                                   UNITED STATES DISTRICT COURT
 8
                                 CENTRAL DISTRICT OF CALIFORNIA
 9

10
      JAMES HOSMANEK,                                 CASE NO. 5:22-cv-00951
11                                                    Civil Rights
             Plaintiff,
12                                                    COMPLAINT FOR PRELIMINARY AND
             v.                                       PERMANENT INJUNCTIVE RELIEF AND
13                                                    DAMAGES: DENIAL OF CIVIL RIGHTS
      BERNELL HYDRAULICS INC.;                        AND ACCESS TO PUBLIC FACILITIES TO
14    WILLIAM R. RUSHING,                             PHYSICALLY DISABLED PERSONS, PER
                                                      FEDERAL AND CALIFORNIA STATUTES
15                                                    (including CIVIL CODE §§ 51, 52, 54, 54.1,
             Defendants.                              54.3 and 55; and HEALTH & SAFETY CODE
16                                                    §§ 19953 et seq.); INJUNCTIVE RELIEF PER
                                                      TITLE III, AMERICANS WITH
17                                                    DISABILITIES ACT OF 1990 (including 42
                                                      USC §§ 12181 et seq.)
18
                                                      DEMAND FOR JURY TRIAL
19

20          Plaintiff JAMES HOSMANEK complains of Defendants BERNELL HYDRAULICS

21   INC. and WILLIAM R. RUSHING, and each of them, and alleges as follows:

22          1.      INTRODUCTION: Plaintiff is a disabled veteran who suffers from osteoarthritis

23   and degenerative disc disease. He has difficulty walking long distances, and climbing stairs is

24   very difficult for him. This is the first and only ADA lawsuit, and his counsel do not represent

25   high frequency litigants.

26          2.      On April 18, 2022, Plaintiff went to the Bernell Hydraulics located at 8810

27   Etiwanda Ave, Rancho Cucamonga, CA 91739, to have two hydraulic rams for his boat repaired.

28   It was very difficult for Plaintiff to access Bernell Hydraulics due to the lack of designated
                                                        1
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 5:22-cv-00951-JGB-KK Document 1 Filed 06/07/22 Page 2 of 19 Page ID #:2



 1   accessible parking spaces in the store’s parking lot, and because the path to the entrance is only

 2   traversable by stairs. There is also a lack of accessible entrance, and the lack of an accessible

 3   restroom that does not have proper grab bars, among other barriers to its use. Plaintiff

 4   experienced difficulty, discomfort and embarrassment due to the lack of an accessible features at

 5   the property. Specifically, it was difficult for him to park and climb stairs, open the entrance

 6   door, and to use the restroom. Additionally, Plaintiff had to experience the same lack of access

 7   when he picked up his repaired hydraulic rams on April 22, 2022.

 8          3.      Defendants denied disabled Plaintiff JAMES HOSMANEK accessible public

 9   facilities, including a compliant accessible path of travels and accessible parking at the Bernell

10   Hydraulics. Plaintiff JAMES HOSMANEK is a “person with a disability” or “physically

11   handicapped person.” He is unable to use portions of public facilities which are not accessible to

12   mobility disabled persons. On or about April 18, 2022, and April 22, 2022, Plaintiff was denied

13   his rights to full and equal access at Bernell Hydraulics. He was denied his civil rights under both

14   California law and federal law, and continues to have his rights denied, because these facilities

15   were not, and are not now, properly accessible to physically disabled persons.

16          4.      Plaintiff seeks injunctive relief to require Defendants to make these facilities

17   accessible to disabled persons and to ensure that any disabled person who attempts to patronize

18   the subject premises will be provided accessible facilities. Plaintiff also seeks recovery of

19   damages for his discriminatory experiences and denial of access and of civil rights, which denial

20   is continuing as a result of Defendants’ failure to provide disabled accessible facilities. Plaintiff

21   also seeks recovery of reasonable statutory attorney fees, litigation expenses and costs, under

22   federal and state law.

23          5.      JURISDICTION: This Court has jurisdiction of this action pursuant to 28 USC

24   section 1331 for violations of the Americans with Disabilities Act of 1990, 42 USC

25   sections 12101 et seq. Pursuant to pendant jurisdiction, attendant and related causes of action

26   arising from the same facts are also brought under California law, including but not limited to

27   violations of Health & Safety Code sections 19953-19959; California Civil Code sections 51, 52,

28   54, 54.1, 54.3 and 55; and Title 24 California Code of Regulations, the California State Building
                                                         2
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 5:22-cv-00951-JGB-KK Document 1 Filed 06/07/22 Page 3 of 19 Page ID #:3



 1   Code.

 2            6.     VENUE: Venue is proper in this court pursuant to 28 USC section 1391(b) and is

 3   founded on the fact that the real property which is the subject of this action is located in this

 4   district and that Plaintiff’s causes of action arose in this district.

 5            7.     INTRADISTRICT: This case should be assigned to the Western Division as the

 6   real property which is the subject of this action is located in this intradistrict and Plaintiff’s causes

 7   of action arose in this intradistrict.

 8            8.     PARTIES: Plaintiff is a qualified physically disabled person. He has been

 9   diagnosed with osteoarthritis and degenerative disc disease. Both of these conditions

10   substantially limit Plaintiff’s ability to ambulate, climb stairs, and stand up from a sitting position.

11   He is unable to use portions of public facilities which are not accessible to mobility disabled

12   persons. Plaintiff is entitled by permit from the State of California to park any vehicle which he

13   drives or is transported in, in a designated and properly configured disabled accessible parking

14   space.

15            9.     Defendants BERNELL HYDRAULICS INC. and WILLIAM R. RUSHING are

16   and were the owners, operators, lessors and/or lessees of the subject business, property and

17   buildings known as Bernell Hydraulics located at 8810 Etiwanda Ave, Rancho Cucamonga, CA

18   91739, at all times relevant to this Complaint. Plaintiff is informed and believes Defendants

19   performed all acts and omissions stated herein which proximately caused the damages

20   complained of. Plaintiff is informed and believes that each of the Defendants herein is the agent,

21   employee, or representative of each of the other Defendant, and each performed all acts and

22   omissions stated herein within the scope of such agency or employment or representative capacity

23   and is responsible in some manner for the acts and omissions of the other Defendants in

24   proximately causing the damages complained of herein.

25            10.    Bernell Hydraulics is a place of “public accommodation” and “business

26   establishment” subject to the requirements of multiple categories of 42 USC section 12181(7)(E)

27   of the Americans with Disabilities Act of 1990, including a sales establishment; of California

28   Health & Safety Code sections 19953 et seq.; of California Civil Code sections 51 et seq.; and of
                                                           3
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 5:22-cv-00951-JGB-KK Document 1 Filed 06/07/22 Page 4 of 19 Page ID #:4



 1   California Civil Code sections 54 et seq. On information and belief, Bernell Hydraulics and its

 2   facilities were built after July 1, 1970, and since then have undergone construction and/or

 3   “alterations, structural repairs, or additions,” subjecting each such facility to disabled access

 4   requirements per Health & Safety Code sections 19953-19959 et seq., and, as to construction

 5   and/or alterations since January 26, 1993, to the disabled access requirements of section 12183 of

 6   the Americans with Disabilities Act of 1990. Such facilities constructed or altered since 1982 are

 7   also subject to “Title 24,” the California State Architect’s Regulations, also known as the

 8   California Building Code. Further, irrespective of the alteration history, such premises are

 9   subject to the “readily achievable” barrier removal requirements of Title III of the Americans

10   with Disabilities Act of 1990, as defined by the ADA. 42 USC § 12181(9).

11
                                  FIRST CAUSE OF ACTION:
12                              DAMAGES AND INJUNCTIVE RELIEF
             FOR DENIAL OF FULL AND EQUAL ACCESS TO PUBLIC FACILITIES IN A
13                                  PUBLIC ACCOMMODATION
                (California Health & Safety Code §§ 19955 et seq; Civil Code §§ 54 et seq.)
14

15           11.     Plaintiff repleads and incorporates by reference, as if fully set forth again herein,

16   the factual allegations contained in Paragraphs 1 through 10, above, and incorporates them herein

17   by reference as if separately repled hereafter.

18           12.     Plaintiff JAMES HOSMANEK and other similarly situated physically disabled

19   persons who are unable to use public facilities on a “full and equal” basis unless each such facility

20   is in compliance with the provisions of California Health & Safety Code sections 19955 -19959.

21   Plaintiff is a member of that portion of the public whose rights are protected by the provisions of

22   Health & Safety Code sections 19955 et seq. Further, Plaintiff is also protected against policy

23   and architectural barrier discrimination by California Civil Code sections 54 and 54.1, the

24   “Disabled Persons Act.” “Individuals with disabilities or medical conditions have the same right

25   as the general public to the full and free use of the streets, highways, sidewalks, walkways, public

26   buildings, medical facilities, including hospitals, clinics, and physicians’ offices, public facilities,

27   and other public places.” Civil Code § 54(a). Furthermore, “Individuals with disabilities shall be

28   entitled to full and equal access, as other members of the general public, to accommodations,
                                                         4
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 5:22-cv-00951-JGB-KK Document 1 Filed 06/07/22 Page 5 of 19 Page ID #:5



 1   advantages, facilities, . . . places of public accommodation, amusement, or resort, and other places

 2   to which the general public is invited.” Civil Code § 54.1(a). Additionally, any violation of the

 3   ADA, including but not limited to any violation of 42 USC sections 12182 and 12183, is also

 4   incorporated as a violation of the Disabled Persons Act. Civil Code §§ 54(c), and 54.1(d).

 5          13.     Title 24, California Code of Regulations, formerly known as the California

 6   Administrative Code and now also known as the California Building Code, was in effect at the

 7   time of each alteration which, on information and belief, occurred at such public facility since

 8   January 1, 1982, thus requiring access complying with the specifications of Title 24 whenever

 9   each such “alteration, structural repair or addition” was carried out. On information and belief,

10   Defendants and/or their predecessors in interest carried out new construction and/or alterations,

11   structural repairs, and/or additions to such buildings and facilities during the period Title 24 has

12   been in effect. Further, Plaintiff alleges, on information and belief, that construction, alterations,

13   structural repairs, and/or additions which triggered access requirements at all relevant portions

14   Bernell Hydraulics, also occurred between July 1, 1970, and December 31, 1981, and required

15   access pursuant to the A.S.A. (American Standards Association) Regulations then in effect,

16   pursuant to the incorporated provisions of California Government Code sections 4450 et seq.

17   Further, on information and belief, additions to the building after the initial construction also

18   occurred after January 1, 1972, triggering access requirements per Health and Safety Code section

19   19959. Alterations or additions after January 26, 1993, trigger ADA liability and requirements

20   per 42 USC sections 12182 and 12183 of the ADA.

21          14.     FACTUAL STATEMENT: Plaintiff needed to have the hydraulic rams on from

22   his boat repaired, so on April 18, 2022, he went to Bernell Hydraulics to inquire whether they

23   could assist him with the repairs. Plaintiff drove his disabled licensed vehicle to the Bernell

24   Hydraulics located at 8810 Etiwanda Ave, Rancho Cucamonga, CA 91739. When he arrived in

25   the parking lot, Plaintiff did not see any parking spaces which were designated as the accessible

26   parking space. There were no parking spaces striped with blue paint, and there was no signage

27   indicated where the designated accessible parking was located. Plaintiff parked his car in the

28   closest available parking space to the entrance of the business, but there were vehicles with no
                                                         5
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 5:22-cv-00951-JGB-KK Document 1 Filed 06/07/22 Page 6 of 19 Page ID #:6



 1   disabled placard or license plates in parking places much closer to the building.

 2           15.    Plaintiff exited his vehicle, retrieved the parts he wanted repaired, and began

 3   walking to the front entrance of Bernell Hydraulics. As he approached the entrance, Plaintiff saw

 4   that he would need to climb two stairs in order to enter the business. Due to his disability,

 5   climbing stairs is difficult, exhausting and painful for Plaintiff, so he briefly investigated whether

 6   there was an alternative path of travel to the entrance door which would not require him to climb

 7   stairs. Plaintiff was unable to find a ramped or other accessible route, so with difficulty, he

 8   climbed the stair to get to the entrance of the business. Below is a true and correct photograph of

 9   the entrance to Bernell Hydraulics as it looked on the day of Plaintiff’s visit.

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25           16.    Seeing no alternative entrance, Plaintiff slowly climbed the stairs and approached

26   the door. Plaintiff opened the door, but it was difficult for him due to the heavy weight of the

27   door.

28           17.    After Plaintiff entered Bernell Hydraulics, he approached the counter and asked to
                                                        6
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 5:22-cv-00951-JGB-KK Document 1 Filed 06/07/22 Page 7 of 19 Page ID #:7



 1   speak with an employee who could assist him in repairing the boat rams he had brought with him.

 2   The person at the counter directed him to go down to the service level to speak with a mechanic.

 3   With difficulty, Plaintiff descended the few stairs to the service area to speak with a mechanic.

 4   The mechanic informed Plaintiff that he could repair the boat rams, so Plaintiff left them with

 5   Defendants’ employee and climbed the stairs back to the main level to exit the shop.

 6           18.     As Plaintiff was leaving, he saw an available restroom. Some of the medications

 7   that Plaintiff are diuretics, and which cause him the need to urinate frequently. Therefore,

 8   whenever Plaintiff passes a restroom, he stops to use the facilities. Plaintiff entered the restroom,

 9   and he sat down on the toilet. However, when he was ready to stand up, he noticed that there

10   were no grab bars to hold onto to assist him in getting off the toilet. Standing from a sitting

11   position is difficult for Plaintiff even with the assistance of another person, grab bar, or railing,

12   but doing so without any assistance is exhausting and painful for Plaintiff. A true and correct

13   photograph of the restroom at Bernell Hydraulics on the day of Plaintiff’s visit is below:

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                         7
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 5:22-cv-00951-JGB-KK Document 1 Filed 06/07/22 Page 8 of 19 Page ID #:8



 1          19.     After using the restroom, Plaintiff exited the store again having difficulty with the

 2   heavy exterior door. He also had to climb down the stairs to get to the parking lot level and then

 3   walk some distance to his vehicle. Plaintiff then got into his vehicle and drove home.

 4          20.     When he got home, Plaintiff had lie down and rest due to the extra energy he had

 5   to expend to patronize Bernell Hydraulics due to the lack of accessible features at Defendants’

 6   facilities. In particular, it was exhausting and painful for Plaintiff to climb stairs and to stand

 7   from a seated position on a toilet without the assistance of grab bars.

 8          21.     Plaintiff had to return to Bernall Hydraulics on April 22, 2022, so that he could

 9   pick up and pay for the hydraulic boat rams that were repaired by Defendants. When he returned,

10   he encountered the same barriers to access that he had on his previous visit. Except that he was

11   deterred from attempting to use the restroom because he knew that the lack of grab bars near the

12   toilet would cause him too much difficulty and discomfort.

13          22.     Plaintiff and other disable patrons at Bernell Hydraulics need designated
14   accessible parking which is close to the business. The designated accessible parking space should
15   have an accessible path of travel connecting it to the entrance to the business and to restroom with
16   accessible features such as grab bars. Plaintiff would like to return to Bernell Hydraulics to have
17   the rams on his RV repaired, because he found the work that Defendants’ employees did was
18   excellent and fairly priced. However, Plaintiff is deterred from returning to the facility until
19   proper disabled access is provided.
20          23.     The subject premises used to have disabled parking and a ramp to the entrance as
21   seen below in approximately 2016, according to Google Maps:
22

23

24

25

26

27

28
                                                         8
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 5:22-cv-00951-JGB-KK Document 1 Filed 06/07/22 Page 9 of 19 Page ID #:9



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11          24.     Since 2016, however, an alteration removed accessible parking and the accessible
12   ramp, as seen below in this Google Maps photo:
13

14

15

16

17

18

19

20

21

22

23

24
            25.     The same disabled accessible parking sign is still observable even though the
25
     parking and ramp are gone. Such an alteration required that the area of alteration be made
26
     accessible, and the paths of travel serving that area, including the restrooms, must also be made
27
     accessible. None of that was done between 2016 and 2022 when the alterations were done.
28
                                                       9
                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 5:22-cv-00951-JGB-KK Document 1 Filed 06/07/22 Page 10 of 19 Page ID #:10



  1          26.     The above referenced barriers to access are listed without prejudice to Plaintiff

  2   citing additional barriers to access by an amended complaint after inspection by Plaintiff’s access

  3   consultant. Oliver v. Ralphs Grocery Co., 654 F.3d 903 (9th Cir. 2011); Doran v. 7-Eleven, Inc.

  4   524 F.3d 1034 (9th Cir. 2008); Chapman v. Pier One Imports (USA), Inc., 631 F.3d 939 (9th Cir.

  5   2011). All of these barriers to access render the premises inaccessible to physically disabled

  6   persons who are mobility impaired, such as Plaintiff, and are barriers Plaintiff may encounter

  7   when he returns to the premises. All facilities must be brought into compliance with all

  8   applicable federal and state code requirements, according to proof.

  9          27.     Further, each and every violation of the Americans with Disabilities Act of 1990

 10   also constitutes a separate and distinct violation of California Civil Code section 54(c) and

 11   54.1(d), thus independently justifying an award of damages and injunctive relief pursuant to

 12   California law, including but not limited to Civil Code sections 54.3 and 55.

 13          28.     INJUNCTIVE RELIEF: Plaintiff seeks injunctive relief to prohibit the acts and

 14   omissions of Defendants as complained of herein which are continuing on a day-to-day basis and

 15   which have the effect of wrongfully excluding Plaintiff and other members of the public who are

 16   physically disabled from full and equal access to these public facilities. Such acts and omissions

 17   are the cause of humiliation and mental and emotional suffering of Plaintiff in that these actions

 18   continue to treat Plaintiff as an inferior and second-class citizen and serve to discriminate against

 19   him on the sole basis that he is a person with disabilities who requires the use of designated

 20   accessible parking spaces and accessible paths of travel at places of public accommodation.

 21          29.     Plaintiff is deterred from returning to use these facilities, because the lack of

 22   access will foreseeably cause him further difficulty, discomfort and embarrassment, and Plaintiff

 23   is unable, so long as such acts and omissions of Defendants continue, to achieve equal access to

 24   and use of these public facilities. Therefore, Plaintiff cannot return to patronize Bernell

 25   Hydraulics and its facilities and is deterred from further patronage until these facilities are made

 26   properly accessible for disabled persons, including Plaintiff and other mobility disabled persons.

 27   Plaintiff has found that Bernell Hydraulics does excellent work and is conveniently located to

 28   Plaintiff’s home. He intends to return and patronize Bernell Hydraulics once it is made accessible
                                                        10
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 5:22-cv-00951-JGB-KK Document 1 Filed 06/07/22 Page 11 of 19 Page ID #:11



  1   in order to use the services to have other hydraulic rams repaired and/or rebuilt. Specifically,

  2   Plaintiff has an older model RV with hydraulic rams which he would like to have rebuilt at

  3   Bernell Hydraulics.

  4           30.     The acts of Defendants have proximately caused and will continue to cause

  5   irreparable injury to Plaintiff if not enjoined by this Court. Plaintiff seeks injunctive relief as to

  6   all inaccessible areas of the premises that he has personally encountered, and, as to all areas

  7   identified during this litigation by Plaintiff’s access consultant, that he or other physically

  8   disabled persons may encounter in the future. Doran v. 7-Eleven, Inc., 524 F.3d 1034 (9th Cir.

  9   2008); Chapman v. Pier One Imports (USA), Inc., 631 F. 3d 939 (9th Cir. 2011); Oliver v. Ralphs

 10   Grocery Co., 654 F.3d 903 (9th Cir. 2011). As to the Defendants that currently own, operate,

 11   and/or lease (from or to) the subject premises, Plaintiff seeks preliminary and permanent

 12   injunctive relief to enjoin and eliminate the discriminatory practices and barriers that deny full

 13   and equal access for disabled persons, and for reasonable statutory attorney fees, litigation

 14   expenses and costs.

 15           31.     Wherefore Plaintiff asks this Court to preliminarily and permanently enjoin any

 16   continuing refusal by Defendants to grant full and equal access to Plaintiff in the ways

 17   complained of and to require Defendants to comply forthwith with the applicable statutory

 18   requirements relating to access for disabled persons. Such injunctive relief is provided by

 19   California Health & Safety Code section 19953 and California Civil Code section 55, and other

 20   law. Plaintiff further requests that the Court award damages pursuant to Civil Code section 54.3

 21   and other law and attorney fees, litigation expenses, and costs pursuant to Health & Safety Code

 22   section 19953, Civil Code sections 54.3 and 55, Code of Civil Procedure section 1021.5 and other

 23   law, all as hereinafter prayed for.

 24           32.     DAMAGES: As a result of the denial of full and equal access to the described

 25   facilities and due to the acts and omissions of Defendants in owning, operating, leasing,

 26   constructing, altering, and maintaining the subject facilities, Plaintiff has suffered a violation of

 27   his civil rights, including but not limited to rights under Civil Code sections 54 and 54.1, and has

 28   suffered difficulty, discomfort and embarrassment, and physical, mental and emotional personal
                                                          11
                            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 5:22-cv-00951-JGB-KK Document 1 Filed 06/07/22 Page 12 of 19 Page ID #:12



  1   injuries, all to his damages per Civil Code section 54.3, including general and statutory damages,

  2   as hereinafter stated. Defendants’ actions and omissions to act constitute discrimination against

  3   Plaintiff on the basis that he was and is physically disabled and unable, because of the

  4   architectural and other barriers created and/or maintained by the Defendants in violation of the

  5   subject laws, to use the public facilities on a full and equal basis as other persons. These

  6   violations have deterred Plaintiff from returning to patronize Bernell Hydraulics and will continue

  7   to cause him damages each day these barriers to access continue to be present.

  8          33.     FEES AND COSTS: As a result of Defendants’ acts, omissions, and conduct,

  9   Plaintiff has been required to incur attorney fees, litigation expenses, and costs as provided by

 10   statute, in order to enforce Plaintiff’s rights and to enforce provisions of the law protecting access

 11   for disabled persons and prohibiting discrimination against disabled persons. Plaintiff therefore

 12   seeks recovery of all reasonable attorney fees, litigation expenses, and costs, pursuant to the

 13   provisions of Civil Code sections 54.3 and 55, and California Health & Safety Code section

 14   19953. Additionally, Plaintiff’s lawsuit is intended to require that Defendants make its facilities

 15   accessible to all disabled members of the public, justifying “public interest” attorney fees,

 16   litigation expenses and costs pursuant to the provisions of California Code of Civil Procedure

 17   section 1021.5 and other applicable law.

 18          WHEREFORE, Plaintiff prays for damages and injunctive relief as hereinafter stated.

 19                          SECOND CAUSE OF ACTION:
       VIOLATION OF CALIFORNIA LAW INCLUDING: THE UNRUH ACT, CIVIL CODE
 20      SECTIONS 51 AND 52, AND THE AMERICANS WITH DISABILITIES ACT AS
                                   INCORPORATED
 21                          BY CIVIL CODE SECTION 51(f)
 22          34.     Plaintiff re-pleads and incorporates by reference, as if fully set forth hereafter, the

 23   factual allegations contained in Paragraphs 1 through 33 of this Complaint and incorporates them

 24   herein as if separately re-pleaded.

 25          35.     At all times relevant to this complaint, California Civil Code section 51 has

 26   provided that physically disabled persons are free and equal citizens of the state, regardless of

 27   medical condition or disability:

 28          All persons within the jurisdiction of this state are free and equal, and no matter
                                                       12
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 5:22-cv-00951-JGB-KK Document 1 Filed 06/07/22 Page 13 of 19 Page ID #:13



  1           what their sex, race, color, religion, ancestry, national origin, disability, or medical
              condition are entitled to the full and equal accommodations, advantages, facilities,
  2           privileges, or services in all business establishments of every kind whatsoever.

  3   Civil Code § 51(b). [Emphasis added.]

  4           36.     California Civil Code section 52 provides that the discrimination by Defendants

  5   against Plaintiff on the basis of his disability constitutes a violation of the general anti-

  6   discrimination provisions of sections 51 and 52.

  7           37.     Each of Defendants’ discriminatory acts or omissions constitutes a separate and

  8   distinct violation of California Civil Code section 52, which provides that:

  9           Whoever denies, aids or incites a denial, or makes any discrimination or distinction
              contrary to section 51, 51.5, or 51.6 is liable for each and every offense for the
 10           actual damages, and any amount that may be determined by a jury, or a court sitting
              without a jury, up to a maximum of three times the amount of actual damage but in
 11           no case less than four thousand dollars ($4,000), and any attorney’s fees that may
              be determined by the court in addition thereto, suffered by any person denied the
 12           rights provided in Section 51, 51.5, or 51.6.

 13           38.     Any violation of the Americans with Disabilities Act of 1990 also constitutes a

 14   violation of California Civil Code section 51(f), thus independently justifying an award of

 15   damages and injunctive relief pursuant to California law, including Civil Code section 52. Per

 16   Civil Code section 51(f), “A violation of the right of any individual under the Americans with

 17   Disabilities Act of 1990 (Public Law 101-336) shall also constitute a violation of this section.”

 18           39.     The actions and omissions of Defendants as herein alleged constitute a denial of

 19   access to and use of the described public facilities by physically disabled persons within the

 20   meaning of California Civil Code sections 51 and 52. As a proximate result of Defendants’

 21   action and omissions, Defendants have discriminated against Plaintiff in violation of Civil Code

 22   sections 51 and 52, and is responsible for statutory, compensatory and treble damages to Plaintiff,

 23   according to proof.

 24           40.     FEES AND COSTS: As a result of Defendants’ acts, omissions and conduct,

 25   Plaintiff has been required to incur attorney fees, litigation expenses and costs as provided by

 26   statute in order to enforce Plaintiff’s rights and to enforce provisions of law protecting access for

 27   disabled persons and prohibiting discrimination against disabled persons. Plaintiff therefore

 28   seeks recovery of all reasonable attorney fees, litigation expenses and costs pursuant to the
                                                          13
                            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 5:22-cv-00951-JGB-KK Document 1 Filed 06/07/22 Page 14 of 19 Page ID #:14



  1   provisions of California Civil Code sections 51 and 52. Additionally, Plaintiff’s lawsuit is

  2   intended to require that Defendants make its facilities and policies accessible to all disabled

  3   members of the public, justifying “public interest” attorney fees, litigation expenses and costs

  4   pursuant to the provisions of California Code of Civil Procedure section 1021.5 and other

  5   applicable law.

  6                     WHEREFORE, Plaintiff prays for damages and injunctive relief as hereinafter

  7   stated.

  8                               THIRD CAUSE OF ACTION:
                VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
  9                                  42 USC §§ 12101 et seq
 10             41.     Plaintiff re-pleads and incorporates by reference, as if fully set forth again herein,

 11   the allegations contained in Paragraphs 1 through 40 of this Complaint and incorporates them

 12   herein as if separately re-pleaded.

 13             42.     In 1990 the United States Congress made findings that laws were needed to more

 14   fully protect “some 43,000,000 Americans [with] one or more physical or mental disabilities;”

 15   that “historically, society has tended to isolate and segregate individuals with disabilities;” that

 16   “such forms of discrimination against individuals with disabilities continue to be a serious and

 17   pervasive social problem;” that “the Nation’s proper goals regarding individuals with disabilities

 18   are to assure equality of opportunity, full participation, independent living, and economic self-

 19   sufficiency for such individuals;” and that “the continuing existence of unfair and unnecessary

 20   discrimination and prejudice denies people with disabilities the opportunity to compete on an

 21   equal basis and to pursue those opportunities for which our free society is justifiably famous...”

 22   42 U.S.C. §12101.

 23             43.     Plaintiff is a qualified individual with a disability as defined in the Rehabilitation

 24   Act and in the Americans with Disabilities Act of 1990.

 25             44.     In passing the Americans with Disabilities Act of 1990 (hereinafter “ADA”),

 26   Congress stated as its purpose:

 27             It is the purpose of this Act
 28             (1) to provide a clear and comprehensive national mandate for the elimination of
                                                         14
                             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 5:22-cv-00951-JGB-KK Document 1 Filed 06/07/22 Page 15 of 19 Page ID #:15



  1           discrimination against individuals with disabilities;

  2           (2) to provide clear, strong, consistent, enforceable standards addressing discrimination
              against individuals with disabilities;
  3

  4           (3) to ensure that the Federal Government plays a central role in enforcing the standards
              established in this Act on behalf of individuals with disabilities; and
  5
              (4) to invoke the sweep of congressional authority, including the power to enforce the
  6           fourteenth amendment and to regulate commerce, in order to address the major areas of
              discrimination faced day-to-day by people with disabilities.
  7

  8   42 USC § 12101(b).
              45.     As part of the ADA, Congress passed “Title III - Public Accommodations and
  9
      Services Operated by Private Entities” (42 USC § 12181 et seq.). The subject property and
 10
      facility is one of the “private entities” which are considered “public accommodations” for
 11
      purposes of this title, which includes but is not limited to any “shopping center, or other sales or
 12
      rental establishment.” 42 USC § 12181(7)(E).
 13
              46.     The ADA states that “No individual shall be discriminated against on the basis of
 14
      disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,
 15
      or accommodations of any place of public accommodation by any person who owns, leases, or
 16
      leases to, or operates a place of public accommodation.” 42 U.S.C. § 12182. The specific
 17
      prohibitions against discrimination include, but are not limited to the following:
 18
      § 12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It shall be discriminatory to afford an
 19
      individual or class of individuals, on the basis of a disability or disabilities of such individual or
 20
      class, directly, or through contractual, licensing, or other arrangements, with the opportunity to
 21
      participate in or benefit from a good, service, facility, privilege, advantage, or accommodation
 22
      that is not equal to that afforded to other individuals.”
 23
      § 12182(b)(2)(A)(ii): “a failure to make reasonable modifications in policies, practices, or
 24
      procedures when such modifications are necessary to afford such goods, services, facilities,
 25
      privileges, advantages, or accommodations to individuals with disabilities...;”
 26
      § 12182(b)(2)(A)(iii): “a failure to take such steps as may be necessary to ensure that no
 27
      individual with a disability is excluded, denied service, segregated, or otherwise treated
 28
                                                          15
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 5:22-cv-00951-JGB-KK Document 1 Filed 06/07/22 Page 16 of 19 Page ID #:16



  1   differently than other individuals because of the absence of auxiliary aids and services...;”

  2   § 12182(b)(2)(A)(iv): “a failure to remove architectural barriers, and communication barriers that

  3   are structural in nature, in existing facilities... where such removal is readily achievable;”

  4   § 12182(b)(2)(A)(v): “where an entity can demonstrate that the removal of a barrier under clause

  5   (iv) is not readily achievable, a failure to make such goods, services, facilities, privileges,

  6   advantages, or accommodations available through alternative methods if such methods are readily

  7   achievable.”

  8   The acts and omissions of Defendants set forth herein were in violation of Plaintiff’s rights under

  9   the ADA and the regulations promulgated thereunder, 28 C.F.R. Part 36 et seq.

 10          47.     The removal of each of the physical barriers complained of by Plaintiff as

 11   hereinabove alleged, were at all times herein mentioned “readily achievable” under the standards

 12   of sections 12181 and 12182 of the ADA. As noted hereinabove, removal of each and every one

 13   of the architectural and/or policy barriers complained of herein were already required under

 14   California law. Further, on information and belief, alterations, structural repairs or additions

 15   since January 26, 1993, have also independently triggered requirements for removal of barriers to

 16   access for disabled persons per section 12183 of the ADA. In the event that removal of any

 17   barrier is found to be “not readily achievable,” Defendants still violated the ADA, per

 18   section 12182(b)(2)(A)(v) by failing to provide all goods, services, privileges, advantages and

 19   accommodations through alternative methods that were “readily achievable.”

 20          48.     The ability to safely use parking facilities and walkways is a fundamental

 21   necessity of accessing and using Bernell Hydraulics. Therefore, the benefits of creating

 22   accessible parking and paths of travel does not exceed the costs of readily achievable barrier

 23   removal. These costs are fundamental to doing business, like any other essential function of

 24   operating a sale and service establishment, such as the costs of as ensuring fire safety. It is thus

 25   readily achievable to remove these barriers.

 26          49.     On information and belief, as of the dates of Plaintiff’s encounters at the premises

 27   and as of the filing of this Complaint, Defendants’ actions, policies, and physical premises have

 28   denied and continue to deny full and equal access to Plaintiff and to other mobility disabled
                                                         16
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 5:22-cv-00951-JGB-KK Document 1 Filed 06/07/22 Page 17 of 19 Page ID #:17



  1   persons in other respects, which violate Plaintiff’s right to full and equal access and which

  2   discriminate against Plaintiff on the basis of his disabilities, thus wrongfully denying to Plaintiff

  3   the full and equal enjoyment of the goods, services, facilities, privileges, advantages and

  4   accommodations, in violation of 42 U.S.C. sections 12182 and 12183 of the ADA.

  5          50.     Defendants’ actions continue to deny Plaintiff’s rights to full and equal access by

  6   deterring Plaintiff from patronizing Bernell Hydraulics and discriminated and continues to

  7   discriminate against him on the basis of his disabilities, thus wrongfully denying to Plaintiff the

  8   full and equal enjoyment of Defendants’ goods, services, facilities, privileges, advantages and

  9   accommodations, in violation of section 12182 of the ADA. 42 U.S.C. § 12182.

 10          51.     Pursuant to the Americans with Disabilities Act, 42 U.S.C. sections 12188 et seq.,

 11   Plaintiff JAMES HOSMANEK is entitled to the remedies and procedures set forth in

 12   section 204(a) of the Civil Rights Act of 1964, 42 USC 2000(a)-3(a), as Plaintiff is being

 13   subjected to discrimination on the basis of his disabilities in violation of sections 12182 and

 14   12183 of this title. On information and belief, Defendants have continued to violate the law and

 15   deny the rights of Plaintiff and other disabled persons to “full and equal” access to this public

 16   accommodation since on or before Plaintiff’s encounters. Pursuant to section 12188(a)(2)

 17          [i]n cases of violations of § 12182(b)(2)(A)(iv) and § 12183(a)... injunctive relief
             shall include an order to alter facilities to make such facilities readily accessible to
 18          and usable by individuals with disabilities to the extent required by this title. Where
             appropriate, injunctive relief shall also include requiring the provision of an
 19          auxiliary aid or service, modification of a policy, or provision of alternative
             methods, to the extent required by this title.
 20

 21          52.     Plaintiff seeks relief pursuant to remedies set forth in section 204(a) of the Civil

 22   Rights Act of 1964 (42 USC 2000(a)-3(a)), and pursuant to Federal Regulations adopted to

 23   implement the Americans with Disabilities Act of 1990. Plaintiff JAMES HOSMANEK is a

 24   qualified disabled person for purposes of section 12188(a) of the ADA who is being subjected to

 25   discrimination on the basis of disability in violation of Title III and who has reasonable grounds

 26   for believing he will be subjected to such discrimination each time that he may use the property

 27   and premises, or attempt to patronize Bernell Hydraulics, in light of Defendants’ policies and

 28   physical premises barriers.
                                                         17
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 5:22-cv-00951-JGB-KK Document 1 Filed 06/07/22 Page 18 of 19 Page ID #:18



  1            WHEREFORE, Plaintiff requests relief as outlined below.

  2                                                 PRAYER

  3            Plaintiff has no adequate remedy at law to redress the wrongs suffered as set forth in this

  4   Complaint. Plaintiff has suffered and will continue to suffer irreparable injury as a result of the

  5   unlawful acts, omissions, policies, and practices of the Defendants as alleged herein, unless

  6   Plaintiff is granted the relief he requests. Plaintiff and Defendants have an actual controversy and

  7   opposing legal positions as to Defendants’ violations of the laws of the United States and the

  8   State of California. The need for relief is critical because the rights at issue are paramount under

  9   the laws of the United States and the State of California.

 10            WHEREFORE, Plaintiff JAME HOSMANEK prays for judgment and the following

 11   specific relief against Defendants:

 12            1.     Issue a preliminary and permanent injunction directing Defendants as current

 13   owners, operators, lessors, and/or lessees of the subject property and premises to modify the

 14   above described property, premises, policies and related facilities to provide full and equal access

 15   to all persons, including persons with physical disabilities; and issue a preliminary and permanent

 16   injunction pursuant to ADA section 12188(a) and state law directing Defendants to provide

 17   facilities usable by Plaintiff and similarly situated persons with disabilities, and which provide

 18   full and equal access, as required by law, and to maintain such accessible facilities once they are

 19   provided; to cease any discriminatory policies, and to train Defendants’ employees and agents in

 20   how to recognize disabled persons and accommodate their rights and needs;

 21            2.     Retain jurisdiction over the Defendants until such time as the Court is satisfied that

 22   Defendants’ unlawful policies, practices, acts and omissions, and maintenance of physically

 23   inaccessible public facilities and policies as complained of herein no longer occur, and cannot

 24   recur;

 25            3.     Award to Plaintiff all appropriate damages, including but not limited to statutory

 26   damages, general damages, and treble damages in amounts within the jurisdiction of the Court, all

 27   according to proof;

 28            4.     Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and
                                                         18
                            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 5:22-cv-00951-JGB-KK Document 1 Filed 06/07/22 Page 19 of 19 Page ID #:19



  1   costs of this proceeding as provided by law;

  2          5.      Award prejudgment interest pursuant to Civil Code section 3291; and

  3          6.      Grant such other and further relief as this Court may deem just and proper.

  4   Date: June 7, 2022                                    REIN & CLEFTON

  5

  6                                                            /s/ Aaron Clefton
                                                            By AARON CLEFTON, Esq.
  7                                                         Attorney for Plaintiff
                                                            JAMES HOSMANEK
  8

  9                                           JURY DEMAND
 10          Plaintiff hereby demands a trial by jury for all claims for which a jury is permitted.
 11

 12   Date: June 7, 2022                                    REIN & CLEFTON
 13

 14                                                            /s/ Aaron Clefton
                                                            By AARON CLEFTON, Esq.
 15                                                         Attorney for Plaintiff
                                                            JAMES HOSMANEK
 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28
                                                       19
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
